Case 8:16-cv-01469-JLS-JCG Document 66 Filed 09/29/17 Page 1 of 1 Page ID #:406



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                                UNITED STATES DISTRICT COURT
  8
                              CENTRAL DISTRICT OF CALIFORNIA
  9
                                     SOUTHERN DIVISION
 10
 11 Jeremy Klein                                    Case No.: 8:16-cv-01469-JLS-JCG
 12                     Plaintiff,                  ORDER
 13          vs.
 14
 15   Hyundai Capital America d/b/a
      Hyundai Motor Finance,
 16
                        Defendant.
 17
 18
 19          Based on the parties’ Stipulation of Dismissal, (1) the individual claims of
 20 Plaintiff Jeremy Klein are dismissed WITH prejudice, and (2) the class claims of
 21 Plaintiff Jeremy Klein are dismissed WITHOUT prejudice.
 22          Each party to bear its own attorney fees and costs.
 23
 24
 25 Date: September 29, 2017                               ___________________________
 26                                                           Hon. Josephine L. Staton
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 28

      8:16-cv-01469-JLS-JCG                                                              ORDER
